1. So much of the workmen's compensation law (Code, § 114-101 et seq.), as requires the counties of this State to pay employees compensation for personal injuries, or for death, while in the employment of the counties, violates art. 7, sec. 6, par. 2, of the constitution of this State (Code, § 2-5402), which limits the purposes for which the General Assembly can authorize the counties to levy a tax.
2. The amendment (Ga. L. 1943, p. 401) defining the word "employer," as contained in the workmen's compensation law, had no effect on the status of counties of this State.
3. Section 2 of the amendment to the workmen's compensation law (Ga. *Page 484 
L. 1943, p. 401), designated as section 114-101A of the Code, has no application to counties of this State as employers.
                      No. 15017. NOVEMBER 14, 1944.
Maggie Mae Kelley, in behalf of the three minor children of Isaiah Kelley, made an application for benefits under the workmen's compensation act. Isaiah Kelley had been employed by the County of Newton, and on February 2, 1943, sustained an accident and injury which arose out of and in the course of his employment and resulted in his death on that date. On the hearing before the deputy director of the State Board of Workmen's Compensation, the county filed a motion to dismiss the alleged claim on the grounds:
(A) Because so much of the workmen's compensation act as may require the counties to pay compensation for personal injuries or deaths of employees violates art. 7, sec. 6, par. 2, of the constitution of this State (Code, § 2-5402), which limits the purposes for which the General Assembly can authorize counties to levy taxes.
(B) That if the amendment of the Code, § 114-101, by the act approved March 20, 1943 (Ga. L. 1943, p. 401), relating to the definition of "employer," purports to make a county subject to the workmen's compensation law, the same is unconstitutional for the reasons above set forth under (A).
(C) Section 2 of the act of March 20, 1943 (Ga. L. 1943, p. 401), in so far as it relates to accidents which occurred before the passage of the act, and providing for payment thereof by the State of Georgia or any departments thereof which had been operating under the terms of the workmen's compensation law, is retroactive in violation of art. 1, sec. 3, par. 2, of the constitution of this State (Code, § 2-302).
(D) That should said section 2 be construed to cover the County of Newton, as an employer, still it would not be applicable to said county for the reason that the county had not been operating under the workmen's compensation law.
The State Board of Workmen's Compensation sustained the motion and dismissed the claim. An appeal to the superior court was filed. That court sustained the board's ruling, and denied the appeal. The claimant excepted. *Page 485 
(After stating the foregoing facts.) 1. In construing art. 7, sec. 6, par. 2, of the constitution of this State (Code, § 2-5402), which declares the purposes for which the General Assembly can authorize the counties to levy taxes, this court, in Floyd County v. Scoggins, 164 Ga. 485
(139 S.E. 11, 53 A.L.R. 1286), specifically ruled that the counties of the State could not be held amenable to the workmen's compensation law. In Murphy v. Constitution Indemnity Co.,172 Ga. 378 (157 S.E. 471), where it was sought to hold the Troup County board of education liable under the workmen's compensation law for injuries received by a school-bus driver, this court held that the Industrial Commission (now State Board of Workmen's Compensation) had no jurisdiction to make an award, asserting that: "The reasoning on this subject is clearly stated in Floyd County v. Scoggins, supra." These two cases were subsequently relied upon and cited in Perdue v. MarylandCasualty Co., 43 Ga. App. 853 (160 S.E. 720). While one Justice dissented in Floyd County v. Scoggins, we think that the majority opinion is correct, and adhere to the ruling there made.
2. In so far as a county is concerned, we can see no effect that the amending act of 1943 (Ga. L. 1943, p. 401) had on the workmen's compensation law. To the definition of "employer" this act merely added "the State of Georgia and all departments thereof." The original act had already sought to include counties, though its application to counties had been held unconstitutional in Floyd County v. Scoggins, supra, and the status of the counties was in no way changed by the amendment which added to the definition of employer "the State of Georgia and all departments thereof."
3. Having ruled that the counties of the State are not covered by the workmen's compensation law, section 2 of the act of 1943 (Ga. L. 1943, p. 401), designated as section 114-101A of the Code, could have no application to the county as an employer; nor does any ruling in State Highway Department v. Bass,197 Ga. 356 (29 S.E.2d 161), afford authority for including a county as an employer under the workmen's compensation law, Code, § 114-101, or the amendment of 1943 (Ga. L. 1943, p. 401). It is therefore *Page 486 
unnecessary to discuss the questions raised under (C) and (D) of the motion to dismiss filed by the county.
The court did not err in sustaining the State Board of Workmen's Compensation in dismissing the claim.
Judgment affirmed. All the Justices concur.